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                                                                                                McSHAIN
                             United States District Court
          Northern District of Illinois − CM/ECF NextGen 1.7.1.1 (Chicago)
                   CIVIL DOCKET FOR CASE #: 1:23−cv−13998

Nitto v. CVS Pharmacy, Inc.                                   Date Filed: 09/21/2023
Assigned to: Honorable Sharon Johnson Coleman                 Jury Demand: Plaintiff
Demand: $9,999,000                                            Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity−Account Receivable                   Jurisdiction: Diversity
Plaintiff
Rhonda Nitto                                    represented by Erin J. Ruben
on behalf of herself and all others                            Milberg Coleman Bryson Phillips
similarly situated                                             Grossman Pllc
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V.
Defendant
CVS Pharmacy, Inc.                             represented by Gregory Edward Ostfeld
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Date Filed   #   Docket Text
09/21/2023    1 COMPLAINT filed by Rhonda Nitto; Jury Demand. Filing fee $ 402, receipt number
                AILNDC−21126664.(Klinger, Gary) (Entered: 09/21/2023)
09/21/2023    2 CIVIL Cover Sheet (Klinger, Gary) (Entered: 09/21/2023)
09/21/2023    3 ATTORNEY Appearance for Plaintiff Rhonda Nitto by Nick Suciu, III (Suciu, Nick)
                (Entered: 09/21/2023)
09/21/2023    4 ATTORNEY Appearance for Plaintiff Rhonda Nitto by Erin J. Ruben (Ruben, Erin)
                (Entered: 09/21/2023)
09/21/2023    5 ATTORNEY Appearance for Plaintiff Rhonda Nitto by John Hunter Bryson (Bryson,
                John) (Entered: 09/21/2023)
09/22/2023    6 ATTORNEY Appearance for Plaintiff Rhonda Nitto by Melissa Susan Weiner
                (Weiner, Melissa) (Entered: 09/22/2023)
09/22/2023    7 ATTORNEY Appearance for Plaintiff Rhonda Nitto by Ryan Thomas Gott (Gott,
                Ryan) (Entered: 09/22/2023)
09/22/2023       CASE ASSIGNED to the Honorable Sharon Johnson Coleman. Designated as
                 Magistrate Judge the Honorable Heather K. McShain. Case assignment: Random
                 assignment. (jxm, ) (Entered: 09/22/2023)
09/22/2023       CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States Magistrate Judge
                 of this court is available to conduct all proceedings in this civil action. If all parties
                 consent to have the currently assigned United States Magistrate Judge conduct all
                 proceedings in this case, including trial, the entry of final judgment, and all post−trial
                 proceedings, all parties must sign their names on the attached Consent To form. This
                 consent form is eligible for filing only if executed by all parties. The parties can also
                 express their consent to jurisdiction by a magistrate judge in any joint filing, including
                 the Joint Initial Status Report or proposed Case Management Order. (jxm, ) (Entered:
                 09/22/2023)
09/25/2023    8 MINUTE entry before the Honorable Sharon Johnson Coleman: This case has been
                assigned to the calendar of Judge Sharon Johnson Coleman. Status hearing is set for
                11/27/2023 at 9:45 AM as an in−person hearing. Plaintiff(s) is directed to advise the
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                 defendant(s) of the status hearing forthwith. The parties are directed to meet and
                 discuss the status of the case. The parties are to file a joint status report in the format
                 described on the court's website at www.ilnd.uscourts.gov at least 3 business days
                 prior to the status. The parties are directed to discuss settlement, and whether they
                 consent to proceed before the Magistrate Judge. If the parties agree to consent
                 jurisdiction before the Magistrate Judge, all parties must sign the consent form and
                 electronically file the signed form on the case docket. The court encourages the parties
                 to review this court's website for its standing orders prior to contacting chambers.
                 Mailed notice. (ym) (Entered: 09/25/2023)
09/25/2023       SUMMONS Issued as to Defendant CVS Pharmacy, Inc. (gmm, ) (Entered:
                 09/25/2023)
10/02/2023    9 SUMMONS Returned Executed by Rhonda Nitto as to CVS Pharmacy, Inc. on
                9/25/2023, answer due 10/16/2023. (Klinger, Gary) (Entered: 10/02/2023)
10/13/2023   10 ATTORNEY Appearance for Defendant CVS Pharmacy, Inc. by Gregory Edward
                Ostfeld (Ostfeld, Gregory) (Entered: 10/13/2023)
10/13/2023   11 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by CVS Pharmacy, Inc.
                (Ostfeld, Gregory) (Entered: 10/13/2023)
10/13/2023   12 MOTION by Defendant CVS Pharmacy, Inc. for extension of time to file answer
                regarding complaint 1 (Unopposed)

                 (Ostfeld, Gregory) (Entered: 10/13/2023)
10/13/2023   13 NOTICE of Motion by Gregory Edward Ostfeld for presentment of motion for
                extension of time to file answer 12 before Honorable Sharon Johnson Coleman on
                10/18/2023 at 10:00 AM. (Ostfeld, Gregory) (Entered: 10/13/2023)
10/16/2023   14 MINUTE entry before the Honorable Sharon Johnson Coleman: Defendant's
                unopposed motion for an extension of time to respond to plaintiff's complaint 12 is
                granted. Responsive pleading to be filed by 11/15/2023. No appearance necessary on
                10/18/2023. Mailed notice. (ym) (Entered: 10/16/2023)
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS




RHONDA NITTO, on behalf of herself and                CLASS ACTION COMPLAINT
all others similarly situated,                        JURY TRIAL DEMANDED

Plaintiff,                                            Case No.:

v.

CVS PHARMACY, INC.,

Defendant.


       Plaintiff, Rhonda Nitto, on behalf of herself and all others similarly situated, brings this

class action against Defendant, CVS Pharmacy, Inc. (“Defendant” or “CVS”), and alleges on

personal knowledge, investigation of counsel, and on information and belief as follows:

                                 GENERAL ALLEGATIONS

       1.     CVS offers a variety of non-prescription drugs, including oral nasal decongestants,

competing in a billion-dollar industry. Four such products are the over the counter oral nasal

decongestants CVS Health “Daytime Softgels Sever Cold/Flu Relief,” “Non-Drowsy Nasal

Decongestant PE,” “Mucus Relief Sinus Severe Congestion & Pain,” “Severe Allergy & Sinus

Headache,” and “Daytime and Nighttime Sinus Relief,” products (collectively, “Products” or

“CVS PE Products”). These Products all contain phenylephrine hydrochloride (“PE”) nasal

decongestant and most contain acetaminophen pain relief as active ingredients. The Products are

marketed as “MAXIMUM STRENGTH” for “Nasal congestion,” “Sinus congestion,”

“Nasal/Sinus congestion & Sinus pressure,” “Sinus pressure,” “Sinus pressure & Congestion,”

“Sinus pain & pressure,” “Headache,” “Sinus Headache,” “Pain Reliver,” and/or “Fever Reducer.”

       2.      The active decongestant ingredient in the Products is phenylephrine hydrochloride,
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which the weight of the reliable scientific evidence, as recently unanimously confirmed by a Food

and Drug Administration (“FDA”) committee, has determined to be no more effective as a nasal

decongestant than a placebo.

       3.      When consumers purchase decongestants and pain relief pills, the strength of the

ingredients are important purchasing considerations, especially for consumers seeking a

“MAXIMUM STRENGTH” product.

       4.      CVS takes advantage of this consumer preference for strong relief by prominently

representing the alleged strength of the CVS PE Products in the one place every consumer looks

when purchasing a product—the front packaging.

       5.      On each product package for Non-Drowsy Nasal Decongestant PE, CVS touts in

capitalized, yellow font on the top of the front of the package that it includes a nasal decongestant,

providing “MAXIMUM STRENGTH” relief for “Sinus pressure” and “Nasal congestion”:




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       6.      The CVS Health “Daytime Softgels Sever Cold/Flu Relief,” “Mucus Relief Sinus

Severe Congestion & Pain,” “Severe Allergy & Sinus Headache,” and “Sinus Relief,” Products

have similar labels, with similar claims, using capitalized font (either yellow, red, or blue) and also

misleadingly tout “MAXIMUM STRENGTH” as to their other active ingredient, acetaminophen,

as a pain reliever, claiming they offer MAXIMUM STRENGTH” relief for “Nasal congestion,”

“Sinus congestion,” “Nasal/Sinus congestion & Sinus pressure,” “Sinus pressure,” “Sinus pressure

& Congestion,” “Sinus pain & pressure,” “Headache,” and/or “Sinus Headache”, and are a “Pain

Reliever” and/or “Fever Reducer”:




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       7.      By portraying these CVS PE Products as “MAXIMUM STRENGTH”

decongestants and pain relievers, CVS misleads consumers into believing their ingredients are

suited to providing the strongest decongestant relief allowable over the counter.

       8.      Despite marketing these Products as “MAXIMUM STRENGTH,” CVS knew the

active nasal decongestant ingredient in them, phenylephrine hydrochloride, was not as strong as

other decongestants available without a prescription. Indeed, studies have shown phenylephrine

hydrochloride is no more effective than a placebo. Additionally, some of the CVS PE Products do

not even contain the maximum dosage of acetaminophen allowable over the counter and are thus

not deserving of the “MAXIMUM STRENGTH” label and representation.

       9.      Thus, the “MAXIMUM STRENGTH” packaging is misleading because stronger

nasal decongestants—without the “MAXIMUM STRENGTH” claim—are available. For

example, both oxymetazoline and pseudoephedrine are available without a prescription, and the

former may be purchased over the counter.



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       10.     Further, CVS knew that higher doses of acetaminophen exist on the market. The

Court need look no further than its manufacturing and marketing of CVS Health Acetaminophen

as “Regular Strength” for 325 mg and “Extra Strength” for 500 mg caplets, tablets, softgels, and

gelcaps taken, as with the CVS PE Products, in dosages of two each.

       11.     Despite this knowledge, CVS chose to mislead consumers through its promotion of

the Products, with and without acetaminophen, as “MAXIMUM STRENGTH.” However, none of

the CVS PE Products are “MAXIMUM STRENGTH.” Consumers, including Plaintiff, lack the

scientific knowledge necessary to determine whether the Products are “MAXIMUM STRENGTH”

decongestants and/or pain relievers, or to ascertain the true quality or strength of these Product.

For that reason, reasonable consumers must and do rely on manufacturers, like CVS, to be honest

and transparent and to properly disclose on the packaging all material information regarding the

Products and their dose.

       12.     Rather than being honest and transparent, CVS makes this “MAXIMUM

STRENGTH” representation in a knowingly false, misleading, and deceptive manner.

       13.     For all the reasons set forth herein, including but not limited to CVS’s

misrepresentations and omissions regarding its “MAXIMUM STRENGTH” claims, Plaintiff seeks

relief in this action individually, and as a class action on behalf of similarly situated purchasers of

CVS’s PE Products, for: (1) violation of state consumer protection laws and (2) unjust enrichment.

                                          THE PARTIES

       14.     Plaintiff is a citizen of Illinois, residing in the Village of Grayslake, within Lake

County. She purchased CVS Health “Non-Drowsy Nasal Decongestant PE,”” several times within

the applicable statute of limitations period, most recently within the last six months in 2023.

       15.     CVS is a Rhode Island corporation, with its principal place of business and



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headquarters located at One CVS Drive, Woonsocket, RI 02895. As such, Defendant is a resident

and citizen of Rhode Island. CVS markets, distributes, and sells the Products to consumers

throughout the United States through its brick-and-mortar locations and online through

Defendant’s website.

                                   JURISDICTION AND VENUE

        16.         This Court has personal jurisdiction over CVS in this matter. The acts and

omissions giving rise to this action occurred in the state of Illinois. CVS has been afforded due

process because it has, at all times relevant to this matter, individually or through its agents,

subsidiaries, officers and/or representatives, operated, conducted, engaged in, and carried on a

business venture in this state and/or maintained an office or agency in this state, and/or marketed,

advertised, distributed, and/or sold the Products in this state, committed a statutory violation within

this state related to the allegations made herein, and caused injuries to Plaintiff and the putative

class members, which arose out of the acts and omissions that occurred in the state of Illinois,

during the relevant time period, at which time CVS was engaged in business activities in the state

of Illinois.

        17.         This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.§

1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more putative class

members, (ii) the aggregate amount in controversy exceeds $5,000,000, exclusive of interest and

costs, and (iii) there is minimal diversity because at least one Plaintiff and CVS are citizens of

different states.

        18.         Pursuant to 28 U.S.C. § 1391(a), venue is proper because a substantial part of the

events giving rise to the claims asserted occurred in this District. Venue is also proper pursuant to

28 U.S.C. § 1391(c) because CVS conducts substantial business in this District, has sufficient



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minimum contacts with this District, and otherwise purposely avails itself of the markets in this

District, through the promotion, sale, and marketing of the CVS PE Products in this District.

Furthermore, Plaintiff resides in this District.

                       FACTS COMMON TO ALL CLASS MEMBERS

       20.     CVS is one of the largest pharmacy companies in the world. As such, CVS sells

several OTC drugs, including its own “CVS Health” branded line of products.

       21.     Phenylephrine hydrochloride is the active ingredient in CVS PE Products for nasal

decongestion. Acetaminophen is the active ingredient in some CVS PE Products that are the

subject of this action as a pain reliever. Both form the basis for CVS’s “MAXIMUM STRENGTH”

misrepresentations on the Products’ packaging, and overall advertising and marketing campaign.

       22.     At all relevant times, CVS has marketed the Products in a consistent and uniform

manner nationwide.

       23.     As alleged above, the CVS PE Products represent that they are “MAXIMUM

STRENGTH” relief for “Nasal congestion,” “Sinus congestion,” “Nasal/Sinus congestion & Sinus

pressure,” “Sinus pressure,” “Sinus pressure & Congestion,” “Sinus pain & pressure,”

“Headache,” and/or “Sinus Headache.” with representations that predominately appear on the front

label of the Products in capitalized, bold, colored lettering that contrasts with the background of

the packaging. This instantly catches the eye of all reasonable consumers, including Plaintiff and

class members.

       24.     A reasonable consumer would understand that “MAXIMUM STRENGTH” relief

for “Nasal congestion,” “Sinus congestion,” “Nasal/Sinus congestion & Sinus pressure,” “Sinus

pressure,” “Sinus pressure & Congestion,” “Sinus pain & pressure,” “Headache,” “Sinus

Headache,” “Pain Reliver,” and/or “Fever Reducer,” means the Products contained the strongest



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dose of nasal decongestant available on the over-the-counter market, as well as the strongest dose

of acetaminophen for pain relief.

       25.       All reasonable consumers, including Plaintiff, read and relied on CVS’s

“MAXIMUM STRENGTH” representations when purchasing the Products. Indeed, when

purchasing pharmaceuticals, especially those promising to be “MAXIMUM STRENGTH,”

consumers often look for a product with the strongest active ingredients possible and are willing

to pay a premium for them.

       26.       CVS’s “MAXIMUM STRENGTH” representation was material to Plaintiff’s and

class members’ decision to purchase the CVS PE Products. Had consumers, such as Plaintiff,

known the CVS PE Products were not “MAXIMUM STRENGTH” relief for “Nasal congestion,”

“Sinus congestion,” “Nasal/Sinus congestion & Sinus pressure,” “Sinus pressure,” “Sinus pressure

& Congestion,” “Sinus pain & pressure,” “Headache,” “Sinus Headache,” “Pain Reliver,” and/or

“Fever Reducer,” they would not have purchased them or would have paid less. Indeed, the only

reason consumers purchase pharmaceuticals is for their advertised therapeutic effect. They want

relief from their cold symptoms, and in this case, the Plaintiff and the class members purchased

“MAXIMUM STRENGTH” Products based on CVS’s false representations and omissions.

       27.       CVS’s marketing efforts are made in order to—and do in fact—induce consumers

to purchase the CVS PE Products at a premium because consumers believe they are getting

“MAXIMUM STRENGTH” decongestants. This deceives consumers because they are not

informed that phenylephrine hydrochloride nasal decongestants are inferior to other, available

decongestants.

       28.       CVS, however, has at all relevant times been well aware that its CVS PE Products

are not “MAXIMUM STRENGTH” nasal decongestants, and that other, stronger decongestants



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are available.

       29.       Starting in December 2007, the FDA convened a Nonprescription Drugs Advisory

Committee (“NDAC”) meeting to address questions about phenylephrine’s purported

effectiveness. On September 11 and 12, 2023, an advisory panel of the FDA met again to present

its findings on scientific literature presented as to the effectiveness of phenylephrine hydrochloride

(referred to by the FDA as “PE”) as an oral nasal decongestant. The panel found: “[W]e have now

come to the initial conclusion that orally administered PE is not effective as a nasal decongestant

at the monographed dosage (10 mg of PE hydrochloride every 4 hours) as well as at doses up to

40 mg (dosed every 4 hours).”

       30.       In 2015, in a well-publicized fashion, further independent research was submitted

to the FDA requesting the PE be reclassified as not effective as a nasal decongestant.

       31.       As a leading manufacturer of phenylephrine hydrochloride oral nasal

decongestants, CVS knew or should have known of the same scientific literature reviewed by the

FDA. Nonetheless, it represents that the Products are “MAXIMUM STRENGTH.” This is

particularly misleading because CVS offers other nasal decongestants, which contain effective

active ingredients, such as pseudoephedrine, which are not marketed as “MAXIMUM

STRENGTH” relief for “Nasal congestion,” “Sinus congestion,” “Nasal/Sinus congestion & Sinus

pressure,” “Sinus pressure,” “Sinus pressure & Congestion,” “Sinus pain & pressure,”

“Headache,” “Sinus Headache,” “Pain Reliver,” and/or “Fever Reducer.” Accordingly, consumers

are induced into purchasing the CVS PE Products, based on the “MAXIMUM STRENGTH”

representation, when comparing it to other competing nasal decongestants.

       32.       Nonetheless, because the Products contain phenylephrine as the only active oral

nasal decongestant ingredient, for that reason alone they are not “MAXIMUM STRENGTH” relief



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for “Nasal congestion,” “Sinus congestion,” “Nasal/Sinus congestion & Sinus pressure,” “Sinus

pressure,” “Sinus pressure & Congestion,” and “Sinus pain & pressure.” Phenylephrine is not the

“MAXIMUM STRENGTH” nasal decongestant allowable over-the-counter. Even CVS offers

decongestants with higher strength active decongestant ingredients.

       33.      Further, for “Daytime Softgels Sever Cold/Flu Relief,” “Mucus Relief Sinus

Severe Congestion & Pain,” “Severe Allergy & Sinus Headache,” and “Sinus Relief,” the

“MAXIMUM STRENGTH” representation is misleading for yet another reason: the only active

ingredient for pain relief is 325 mg of acetaminophen, which is the equivalent of a “Regular

Strength” acetaminophen tablet. Thus, the strength of the acetaminophen dosage is far below

anything that can be considered “MAXIMUM STRENGTH,” or as CVS calls it, “Extra Strength.”




Thus, the “MAXIMUM STRENGTH” representation is misleading, both as to the claims of

providing the maximum decongestant and pain relief available over the counter.

       34.    CVS intended for Plaintiff and class members to be deceived or mislead by its

misrepresentations and omissions. Indeed, label space is limited, so manufacturers only place the

most pertinent information on the front label. CVS specifically labeled and marketed the CVS PE

Products as “MAXIMUM STRENGTH” relief for Nasal congestion,” “Sinus congestion,”

“Nasal/Sinus congestion & Sinus pressure,” “Sinus pressure,” “Sinus pressure & Congestion,”

“Sinus pain & pressure,” “Headache,” “Sinus Headache,” “Pain Reliver,” and/or “Fever Reducer”


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when other oral nasal decongestants and pain relievers were not marketed in a similar fashion.

       35.       CVS’s deceptive and misleading practices proximately caused harm to Plaintiff and

the Classes.

       36.       Plaintiff and class members would not have purchased the CVS PE Products, or

would have paid less for them, had they known the truth about the mislabeled and falsely

advertised products. Indeed, other, stronger nasal decongestants and higher acetaminophen doses

are available.

                              PLAINTIFF’S FACTUAL ALLEGATIONS

       37.       Plaintiff relied on the CVS Health “MAXIMUM STRENGTH” label in deciding to

purchase what she believed to be the strongest nasal decongestant. Had Plaintiff known that

phenylephrine—the only active oral nasal decongestant ingredient Non-Drowsy Nasal

Decongestant PE —is not the “MAXIMUM STRENGTH” nasal decongestant allowable over the

counter, she would not have purchased it. Further, had she known the acetaminophen in the PE

Product was not the maximum dosage available, she would not have purchased it.

       38.       Plaintiff resides in Grayslake, IL and is a citizen of Illinois. Throughout the relevant

period, Plaintiff purchased the Products at issue in this lawsuit and was exposed to, and reasonably

relied upon, CVS’s “MAXIMUM STRENGTH” representations. Specifically, Plaintiff purchased

CVS Non-Drowsy Nasal Decongestant PE from a local CVS located at 34344 N US Highway 45,

Third Lake, Illinois, 60030 within the last six months on more than one occasion. At the time of

each purchase, Plaintiff reviewed the Product packaging, including the front-label representations,

and reasonably believed from these representations that the Products were “MAXIMUM

STRENGTH.” In reasonable reliance on these representations, Plaintiff paid an increased cost for

the Products, which were worth less than represented because the statements were not true and



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were highly misleading. The “MAXIMUM STRENGTH” representation on the Products’

packaging, was part of the basis of the bargain in that Plaintiff attributed value to those

representations and Plaintiff would not have purchased the Products, or would not have purchased

them on the same terms, if she knew the “MAXIMUM STRENGTH” representations were untrue

and/or misleading. Plaintiff paid a price premium for empty promises that CVS did not keep. Had

Plaintiff been aware that the “MAXIMUM STRENGTH” representations made by CVS on the

Products was untrue, she would have paid less for the Products, or would not have purchased them

at all.

                               FED. R. CIV. P. 9(B) ALLEGATIONS

          39.   CVS made material misrepresentations and/or omissions of fact in its labeling and

marketing of the CVS PE Products by representing that they are “MAXIMUM STRENGTH”

decongestant and pain reliever products.

          39.   CVS’s alleged conduct was and continues to be fraudulent because it has the effect

of deceiving consumers into believing that the CVS PE Products are “MAXIMUM STRENGTH”

oral nasal decongestant products. CVS omitted from Plaintiff and class members that the CVS PE

Products are not “MAXIMUM STRENGTH” oral nasal decongestant products because other

decongestant products exist in the market that are stronger as decongestants. CVS knew, or should

have known, this information is material to all reasonable consumers and impacts consumers’

purchasing decisions. Yet, CVS has and continues to represent that the CVS PE Products are

“MAXIMUM STRENGTH” oral nasal decongestant products when they are not, and has omitted

from the CVS PE Products’ packaging the fact that there are other non-prescription products that

are stronger decongestants. All of that is also true as to its misrepresentation that CVS PE Products

with acetaminophen are “MAXIMUM STRENGTH” pain relievers, even though their



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acetaminophen content—by CVS’s own classification—is only regular strength.

       40.     CVS made material misrepresentations and/or omissions detailed herein,

including that the CVS PE Products are “MAXIMUM STRENGTH” oral nasal decongestant

and pain reliever products, continuously throughout the applicable class period(s).

       41.     CVS’s material misrepresentations and omissions, that the CVS PE Products are

“MAXIMUM STRENGTH” oral nasal decongestant and pain reliever products, were located on

the front label of the CVS PE Products in capitalized, bold yellow, red, or blue lettering that

contrasts with the background of the packaging, which instantly catches the eye of all reasonable

consumers, including Plaintiff and class members, at the point of sale in every transaction. The

CVS PE Products are sold in CVS’s brick and mortar stores and online stores in Illinois and

nationwide.

       42.     CVS made written misrepresentations of fact on the front label of the CVS PE

Products, that the CVS PE Products were “MAXIMUM STRENGTH” oral nasal decongestant

products, even though other stronger decongestant products are allowable over the counter. As

such, CVS’s “MAXIMUM STRENGTH” representations are false and misleading. Moreover,

CVS omitted from the CVS PE Products’ labeling the fact that there are other non-prescription

products available that are stronger decongestants and pain relievers. And as alleged in detail

throughout this Complaint, Plaintiff and class members read and relied on CVS’s “MAXIMUM

STRENGTH” representations and omissions before purchasing the CVS PE Products.

       43.     CVS misrepresented its CVS PE Products as being “MAXIMUM STRENGTH”

decongestant products and omitted from the CVS PE Products’ labeling the fact that there are

other, non-prescription products available in the market that are stronger decongestants and pain

relievers, for the express purpose of inducing Plaintiff and class members to purchase the inferior



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phenylephrine hydrochloride and acetaminophen products at a price premium. As such, CVS

profited by selling the misrepresented products to at least thousands of consumers throughout

the nation.

                                CLASS ACTION ALLEGATIONS

       44.        Plaintiff brings this action on behalf of herself and the following “Classes”

pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and/or (b)(3). Specifically, the Classes

are defined as:

       National Class: All persons in the United States who purchased the CVS PE
       Products in the United States for personal use and not for resale during the
       applicable statute of limitations period.

       Multi-State Consumer Protection Class: All persons who purchased the CVS PE
       Products in the State of Illinois or any state with similar laws 1 for personal use and
       not for resale during the applicable statute of limitations period.

       Illinois Subclass: All persons in the State of Illinois who purchased the CVS PE
       Products in the State of Illinois for personal use and not for resale during the
       applicable statute of limitations period.

       45.        Excluded from the Classes are (a) any person who purchased the CVS PE Products

for resale and not for personal or household use, (b) any person who signed a release of any CVS

in exchange for consideration, (c) any officers, directors or employees, or immediate family

members of the officers, directors or employees, of any CVS or any entity in which a CVS has a

controlling interest, (d) any legal counsel or employee of legal counsel for CVS, and (e) the

presiding Judge in this lawsuit, as well as the Judge’s staff and their immediate family members.



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   While discovery may alter the following, Plaintiff asserts that the other states with similar
consumer fraud laws under the facts of this case include, but are not limited to: California (Cal.
Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. §§ 501.201, et seq.); Illinois (815 ICLS §§
505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws
§§ 445.901, et seq.); Minnesota (Minn. Stat. §§ 325F.67, et seq.); New Jersey (N.J. Stat. §§ 56:8-
1, et seq.); New York (N.Y. Gen. Bus. Law §§ 349, et seq.); Washington (Wash. Rev. Code §§
19.86.010, et seq.). See Mullins v. Direct Digital, LLC, No. 13-cv-1829, 2014 WL 5461903 (N.D.
Ill. Sept. 30, 2014), aff’d, 795 F.3d 654 (7th Cir. 2015).
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       46.       Plaintiff reserves the right to amend the definition of the Classes if discovery or

further investigation reveals that the Classes should be expanded or otherwise modified.

       47.       Numerosity – Federal Rule of Civil Procedure 23(a)(1). Class members are so

numerous and geographically dispersed that joinder of all class members is impracticable. While

the exact number of class members remains unknown at this time, upon information and belief,

there are thousands, if not hundreds of thousands, of putative class members.

       48.       Predominance of Common Questions of Law and Fact – Federal Rule of Civil

Procedure 23(a)(2) and 23(b)(3). Common questions of law and fact exist as to all class members

and predominate over any questions affecting only individual class members. These common legal

and factual questions include, but are limited to, the following:

       a. Whether CVS made the “MAXIMUM STRENGTH” representations;

       b. Whether CVS promoted the CVS PE Products with false and misleading statements of

             fact and material omissions;

       c. Whether CVS’s “MAXIMUM STRENGTH” representations are deceptive, unfair, or

             misleading to a reasonable consumer;

       d. Whether CVS’s actions and/or omissions violate applicable laws;

       e. Whether Plaintiff and putative members of the Classes have suffered a loss of monies

             or property or other value as a result of CVS’s acts, omissions, or misrepresentations

             of material facts;

       f. Whether CVS was unjustly enriched at the expense of Plaintiff and members of the

             putative Classes in connection with the CVS PE Products;

       g. Whether Plaintiff and members of the putative Classes are entitled to monetary

             damages or statutory damages and, if so, the nature of such relief; and



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       h. Whether Plaintiff and members of the putative Classes are entitled to equitable,

             declaratory, or injunctive relief and, if so, the nature of such relief.

       49.       Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of those of the absent class members in that Plaintiff and the class members each purchased

and used the CVS PE Products and each sustained damages arising from CVS’s wrongful conduct,

as alleged more fully herein. Plaintiff shares the aforementioned facts and legal claims or questions

with putative members of the Classes, and Plaintiff and all members of the putative Classes have

been similarly affected by CVS’s common course of conduct alleged herein. Plaintiff and all

members of the putative Classes sustained monetary and economic injuries including, but not

limited to, ascertainable loss arising out of CVS’s false and deceptive “MAXIMUM STRENGTH”

representations about the CVS PE Products, as alleged herein.

       50.       Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will fairly and

adequately represent and protect the interests of the members of the putative Classes. Plaintiff

has retained counsel with substantial experience in handling complex class action litigation,

including complex questions that arise in this type of consumer protection litigation. Further,

Plaintiff and her counsel are committed to the vigorous prosecution of this action. Plaintiff does

not have any conflicts of interest or interests adverse to those of putative Classes.

       51.       Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).

Absent a class action, Plaintiff and members of the Classes will continue to suffer the harm

described herein, for which they would have no remedy. Even if separate actions could be brought

by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated consumers,



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substantially impeding their ability to protect their interests, while establishing incompatible

standards of conduct for CVS. Accordingly, the proposed Classes satisfy the requirements of Fed.

R. Civ. P. 23(b)(1).

       52.      Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

CVS has acted or refused to act on grounds generally applicable to Plaintiff and all Members of

the Classes, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the members of the Classes as a whole.

       53.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available methods for the fair and efficient adjudication of the present controversy for

at least the following reasons:

       a. The damages suffered by each individual member of the putative Classes do not justify

             the burden and expense of individual prosecution of the complex and extensive

             litigation necessitated by CVS’s conduct;

       b. Even if individual members of the Classes had the resources to pursue individual

             litigation, it would be unduly burdensome to the courts in which the individual

             litigation would proceed;

       c. The claims presented in this case predominate over any questions of law or fact

             affecting individual members of the Classes;

       d. Individual joinder of all members of the Classes is impracticable;

       e. Absent a class, Plaintiff and members of the putative Classes will continue to suffer

             harm as a result of CVS’s unlawful conduct; and

       f. This action presents no difficulty that would impede its management by the Court as a

             class action, which is the best available means by which Plaintiff and members of the



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             putative Classes can seek redress for the harm caused by CVS.

       g. In the alternative, the Classes may be certified for the following reasons:

              (1) The prosecution of separate actions by individual members of the Classes would

                  create a risk of inconsistent or varying adjudication with respect to individual

                  members of the Classes, which would establish incompatible standards of

                  conduct for CVS;

              (2) Adjudications of claims of the individual members of the Classes against CVS

                  would, as a practical matter, be dispositive of the interests of other members of

                  the putative Classes who are not parties to the adjudication and may substantially

                  impair or impede the ability of other putative class members to protect their

                  interests; and

              (3) CVS has acted or refused to act on grounds generally applicable to the members

                  of the putative Classes, thereby making appropriate final and injunctive relief

                  with respect to the putative Classes as a whole.

                                     CLAIMS FOR RELIEF

                                          COUNT I
                   VIOLATION OF THE ILLINOIS CONSUMER FRAUD
                     AND DECEPTIVE BUSINESS PRACTICES ACT
                       (By Plaintiff on Behalf of the Illinois Subclass)

       54.      Plaintiff realleges paragraphs 1-53 above as if fully set forth herein.

       55.      Plaintiff brings this claim on behalf of herself and the Illinois Subclass.

       56.      In Illinois, the “Consumer Fraud and Deceptive Business Practices Act” 815 Ill.

Comp. Stat. 505/1, et seq., prohibits “unfair methods of competition and unfair or deceptive acts

or practices, including but not limited to the use or employment of any deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression or omission of any

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material fact, with intent that others rely upon the concealment, suppression or omission of such

material fact or the use or employment of any practice described in Section 2 of the ‘Uniform

Deceptive Trade Practices Act’ . . . .”

        57.    Plaintiff and the Illinois Subclass members were injured by CVS’s deceptive

misrepresentations, concealments, and omissions, and these misrepresentations, concealments

and omissions were material and deceived Plaintiff and the Illinois Subclass. Because Plaintiff

and the Illinois Subclass members relied on CVS’s misrepresentations, concealments, and

omissions when purchasing the Products, they were injured at the time of purchase.

        58.    CVS does business in Illinois, sells and distributes the Products in Illinois, and

engaged in deceptive acts and practices in connection with the sale of the Products in Illinois and

elsewhere in the United States.

        59.    The Products purchased by Plaintiff and the Illinois Subclass members were

“consumer items” as that term is defined under the Illinois Consumer Fraud Act.

        60.    CVS engaged in unfair and deceptive acts in violation of 815 Ill. Comp. Stat.

505/2 when it misrepresented and deceptively concealed, suppressed, and/or omitted the material

information known to CVS as set forth above concerning its Products, which has caused damage

and injury to Plaintiff and the Illinois Subclass members. Plaintiff and the Illinois Subclass

members were injured by CVS’s unfair and deceptive acts at the time of purchasing the Products.

        61.    CVS’s marking of the CVS PE Products violates this prohibition by deceiving

consumers into believing the products are “MAXIMUM STRENGTH” decongestant or pain

relievers.

        62.    CVS engaged in fraudulent and/or deceptive conduct, which creates a likelihood

of confusion or of misunderstanding in violation of the Act.



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       63.    CVS engaged in misleading and deceptive advertising that represented that the

CVS PE Products were “MAXIMUM STRENGTH.” CVS chose to package and market the

Products in this way to impact consumer choices and gain market dominance, as it knew or

should have known that all consumers who purchased the Products would be impacted by its

omissions and would reasonably believe CVS’s false and misleading “MAXIMUM

STRENGTH” representations and omissions.

       64.    CVS’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

       65.    CVS intended Plaintiff and the Illinois Subclass members to rely on its deceptive

acts when purchasing the Products.

       66.    CVS’s deceptive acts proximately caused actual injury and damage to Plaintiff

and the Illinois Subclass members at the time of purchase.

       67.    Plaintiff and the Illinois Subclass members would not have purchased, or would

have paid less for, the Products but for CVS’s material misrepresentations as described in this

Complaint.

                                    COUNT II
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                  (By Plaintiff on Behalf of the Illinois Subclass)

       68.    Plaintiff realleges paragraphs 1-53 above as if fully set forth herein.

       69.    Plaintiff brings this claim on behalf of herself the Illinois Subclass.

       70.    The Illinois Deceptive Trade Practices Act (“UDTPA”), 815 Ill. Comp. Stat.

510/2, et seq., prohibits “[u]nfair methods of competition and unfair or deceptive acts or

practices, including but not limited to the use or employment of any deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression or omission of any



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material fact, with intent that others rely upon the concealment, suppression or omission of such

material fact.”

       71.        815 ILCS 510/2 provides in pertinent part that a “person engages in a deceptive

trade practice when, in the course of his or her business, vocation, or occupation,” the person

does any of the following: “(5) represents that goods or services have . . . uses, benefits or

quantities that they do not have . . .; (7) represents that goods or services are of a particular

standard, quality, or grade or that goods are a particular style or model, if they are of another; . .

. [or] (12) engages in any other conduct which similarly creates a likelihood of confusion or

misunderstanding.”

       72.        CVS’s marketing of the CVS PE Products violates this prohibition by deceiving

consumers into believing they are “MAXIMUM STRENGTH” decongestant or pain relievers.

       73.        CVS engaged in fraudulent and/or deceptive conduct, which creates a likelihood

of confusion or of misunderstanding in violation of the Act.

       74.        CVS engaged in misleading and deceptive advertising that represented that the

CVS PE Products were “MAXIMUM STRENGTH.” CVS chose to package and market the

Products in this way to impact consumer choices and gain market dominance, as it knew or

should have known that all consumers who purchased the Products would be impacted by its

omissions and would reasonably believe CVS’s false and misleading “MAXIMUM

STRENGTH” representations and omissions.

       75.        CVS intended that Plaintiff and each of the other Illinois Subclass members

would reasonably rely upon the material omissions concerning the true nature of the CVS PE

Products.

       76.        CVS’s concealment, omissions, and other deceptive conduct were likely to



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deceive and cause misunderstanding and/or in fact caused Plaintiff and each of the other Illinois

Subclass members to be deceived about the true nature of the Products.

       77.      CVS’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

       78.      CVS’s deceptive acts proximately caused actual injury and damage to Plaintiff

and the Illinois Subclass members at the time of purchase.

       79.      Plaintiff and the Illinois Subclass members would not have purchased, or would

have paid less for, the CVS PE Products but for CVS’s material misrepresentations as described

in this Complaint.

       80.      CVS intended Plaintiff and the Illinois Subclass members to rely on its deceptive

acts when purchasing the CVS PE Products.

                                           COUNT III
             VIOLATION OF STATE CONSUMER PROTECTION STATUTES
             (By Plaintiff on Behalf of the Multi-State Consumer Protection Class)

       81.      Plaintiff realleges paragraphs 1-53 above as if fully set forth herein.

       82.      Plaintiff brings this cause of action on behalf of herself and the Multi-State

Consumer Protection Class.

       83.      Plaintiff and Multi-State Consumer Protection Class members have been injured

as a result of CVS’s violations of the state consumer protection statutes listed above in paragraph

44 and footnote 1, which also provide a basis for redress to Plaintiff and Multi-State Consumer

Class members based on CVS’s fraudulent, deceptive, unfair, and unconscionable acts, practices,

and conduct.

       84.      CVS’s conduct as alleged herein violates the consumer protection, unfair trade

practices, and deceptive acts laws of each of the jurisdictions encompassing the Multi-State



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Consumer Class.

       85.     CVS violated the Multi-State Consumer Class states’ consumer protection, unfair

trade practices, and deceptive acts laws through its misleading and deceptive advertising that

represented that the CVS PE Products were “MAXIMUM STRENGTH.” CVS chose to package

and market the Products in this way to impact consumer choices and gain market dominance, as

it knew or should have known that all consumers who purchased the Products would be impacted

by its omissions and would reasonably believe CVS’s false and misleading “MAXIMUM

STRENGTH” representations and omissions.

       86.     CVS’s misrepresentations were material to Plaintiff and Multi-State Consumer

Class members’ decision to purchase the Products or pay a premium for the Products.

       87.     CVS made its untrue and/or misleading statements and representations willfully,

wantonly, and with reckless disregard for the truth.

       88.     As a result of CVS’s violations of the aforementioned states’ unfair and deceptive

practices laws, Plaintiff and Multi-State Consumer Class members paid a premium for the

Products.

       89.     As a result of CVS’s violations, CVS has been unjustly enriched.

       90.     Pursuant to the alleged consumer protection, unfair trade practices, and deceptive

acts laws, Plaintiff and Multi-State Consumer Class members are entitled to recover

compensatory damages, restitution, punitive, and special damages, including but not limited to

statutory or treble damages, reasonable attorneys’ fees, and costs, and other injunctive or

declaratory relief as deemed appropriate or permitted pursuant to the relevant law.

                                          COUNT IV
                                   UNJUST ENRICHMENT
 (By Plaintiff, In the Alternative, and on Behalf of the Nationwide and/or Illinois Subclass)

       91.     Plaintiff realleges paragraphs 1-53 above as if fully set forth herein.

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       92.     Plaintiff brings this cause of action in the alternative on behalf of herself, the

Nationwide Class, and/or the Illinois Subclass against CVS. It is alleged it the alternative to the

extent there is no adequate remedy at law.

       93.     Plaintiff and the putative class members conferred a benefit on CVS when they

purchased the CVS PE Products. By its wrongful acts and omissions described herein, including

selling the CVS PE Products containing the “MAXIMUM STRENGTH” representations, which

did not conform to the promises or affirmations of fact made on the label, CVS was unjustly

enriched at the expense of Plaintiff and the putative class members.

       94.     Plaintiff’s detriment and CVS’s enrichment were related to and flowed from the

wrongful conduct challenged in this Complaint.

       95.     CVS has profited from its unlawful, unfair, misleading, and deceptive practices at

the expense of Plaintiff and the putative class members under circumstances in which it would be

unjust for CVS to be permitted to retain the benefit. It would be inequitable for CVS to retain the

profits, benefits, and other compensation obtained from their wrongful conduct as described herein

in connection with selling the CVS PE Products.

       96.     CVS has been unjustly enriched in retaining the revenues derived from Plaintiff’s

and class members’ purchases of the CVS PE Products, which retention of such revenues under

these circumstances is unjust and inequitable because CVS marketed, advertised, distributed, and

sold the CVS PE Products, and CVS misrepresented the nature of the products, misrepresented

their benefits and attributes, and knowingly marketed and promoted the CVS PE Products with

“MAXIMUM STRENGTH” representations, which caused injuries to Plaintiff and the Class

because they would not have purchased the CVS PE Products based on the same representations

if the true facts concerning the CVS PE Products had been known.



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        97.      Plaintiff and the putative class members have been damaged as a direct and

proximate result of CVS’s unjust enrichment because they would not have purchased the CVS PE

Products on the same terms or for the same price had they known the true nature of the CVS PE

Products and the misstatements regarding the strength of the CVS PE Products’ active ingredient.

        98.      CVS either knew or should have known that payments rendered by Plaintiff and

the putative class members were given and received with the expectation that the “MAXIMUM

STRENGTH” representations made by CVS in advertising, on CVS’s website, and on the PE CVS

Products’ labels and packaging were true. It is inequitable for CVS to retain the benefit of

payments under these circumstances because the “MAXIMUM STRENGTH” representations are

not true.

        99.      Plaintiff and the putative class members are entitled to recover from CVS all

amounts wrongfully collected and improperly retained by CVS.

      100.       As a direct result of CVS’s wrongful conduct and unjust enrichment, Plaintiff and

the putative class members are entitled to restitution of, disgorgement of, and/or imposition of a

constructive trust upon all profits, benefits, and other compensation obtained by CVS for its

inequitable and unlawful conduct.

                                      PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated

 members of the Classes, prays for relief and judgment, including entry of an order:

                 A.     Declaring that this action is properly maintained as a class action,

        certifying the proposed Classes, appointing as Class Representatives and appointing

        Plaintiff’s counsel as Class Counsel;

                 B.     Directing that CVS bear the costs of any notice sent to the Classes;



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         C.        Declaring that CVS must disgorge, for the benefit of the Classes, all or

  part of the ill-gotten profits they received from the sale of the CVS PE Products, or order

  CVS to make full restitution to Plaintiff and the members of the Classes;

         D.        Awarding restitution and other appropriate equitable relief;

         E.        Granting an injunction against CVS to enjoin it from conducting its

  business through the unlawful, unfair, and fraudulent acts or practices set forth herein;

         F.        Granting an Order requiring CVS to fully and appropriately recall the

  Products and/or to remove the claims on its website and elsewhere, including

  “MAXIMUM STRENGTH” representations regarding the CVS PE Products;

         G.        Ordering a jury trial and damages according to proof;

         H.        Awarding Plaintiff and members of the Classes compensatory and

  punitive damages, or statutory damages, as provided by the applicable state consumer

  protection statutes invoked above;

         I.        Enjoining CVS from continuing to engage in the unlawful and unfair

  business acts and practices as alleged herein;

         J.        Awarding attorneys’ fees and litigation costs to Plaintiff and members of

  the Class(es);

         K.        Awarding civil penalties, prejudgment interest, and punitive damages as

  permitted by law; and

         L.        Ordering such other and further relief as the Court deems just and proper.

                                  JURY DEMAND

   Plaintiff demands a trial by jury of all claims in this Complaint so triable.




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